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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,                    )
                                             )
                Plaintiff,                   )       ORDER FOR TRANSPORT
                                             )
       vs.                                   )
                                             )
Kealoha Aulaumea,                            )       Case Nos. 4:13-cr-066 and 4:13-cr-082
                                             )
                Defendant.                   )


       Defendant has been ordered detained pending sentencing. She is being housed at the Lake

Region Correctional Center (hereinafter referred to as the “Correctional Center”) in Devils Lake,

North Dakota.

       On March 20, 2014, she filed an order requesting transport from the Correctional Center to

the Lake Region Human Service Center (“LRHSC”) for a chemical dependency evaluation. The

LRHSC is located in Devils Lake and is less than a mile from the Correctional Center. The

government does not oppose defendant’s motion.

       The court GRANTS defendant’s motion (Case No. 4:13-cr-066, Doc. No. 525; Case No.

4:13-cr-082, Doc. No. 87). The United States Marshal or its designee shall transport defendant to

the LRHSC, where she shall undergo a chemical dependency evaluation. For logistical purposes

the date and time her transport shall be arranged by the transporting agency and the LRHSC. Once

the evaluation is completed, defendant shall be returned to the custody of the Correctional Center.

       IT IS SO ORDERED.

       Dated this 25th day of March, 2014.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
